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July 11, 2022                                                  Michael B. de Leeuw
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Hon. Louis L. Stanton, U.S.D.J.
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

Re:     Federal Trade Comm’n, et al. v. Quincy Bioscience Holding Co., LLC,, et al.,
        17-cv-00124-LLS

Your Honor:

       We are counsel to Defendant Mark Underwood and respectfully submit this letter
in response to the NYAG’s July 7, 2022 letter opposing Mr. Underwood’s motion to seal
certain documents submitted in support of his Motion for Partial Summary Judgment.
(ECF No. 275.)

      The NYAG’s position that Mr. Underwood has not articulated a legitimate basis for
withholding portions of certain documents submitted in support of his Motion for Partial
Summary Judgment1 is baseless. The NYAG offers an unsupported, speculative
argument that public disclosure of this data would not cause harm. (ECF No. 275 at 2-
3.) Not so. The relevant, redacted portions of Mr. Underwood’s deposition transcript and
the Corporate Defendants’ interrogatory responses discuss the inner workings of the
Corporate Defendants’ marketing team—proprietary data that could be used by the
Corporate Defendants’ competitors for their own benefit. Similarly, the Corporate
Defendants’ nonpublic sales data contained in the cited portions of the Corporate
Defendants’ interrogatory responses is highly sensitive information that could be used by
the Corporate Defendants’ competitors to the Corporate Defendants’ detriment. Indeed,
the NYAG itself acknowledged the proprietary nature of the Corporate Defendants’ sales
data by redacting it in its (improperly filed) statement of additional material facts. (See
ECF No. 239 at 22.)

       Contrary to the NYAG’s position, this Court does not require a party seeking to
seal proprietary business information (e.g., marketing plans and sales data) to identify the
competitors that would use this information or speculate about how that information could
be used. Instead, this Court must assess whether Mr. Underwood’s concern that publicly
disclosing this proprietary information would be prejudicial to him and to the Corporate

1      With respect to the redacted deposition transcript of Mr. Underwood, the NYAG is
only challenging the sealing request as it relates to the portions of Mr. Underwood’s
deposition cited in support of Mr. Underwood’s reply brief in further support of the Motion
for Partial Summary Judgment. ECF No. 275 at 2.


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Defendants outweighs the public’s right to access this information at this time. Kewazinga
Corp. v. Microsoft Corp., No. 18 Civ. 4500, 2021 WL 1222122, at *6 (S.D.N.Y. Mar. 31,
2021). As this Court has found time and time again, the limited information that Mr.
Underwood seeks to keep under seal involving the Corporate Defendants’ marketing
strategies and sales data meets that standard. See id. at *6 (concluding that redacted
information related to “the amounts of its revenue and sales” and “specific revenue
amounts from certain offerings” should be sealed as “it could indeed harm [the defendant]
or advantage its competitors”); see also GoSMiLE, Inc. v. Dr. Jonathan Levine, D.M.D.
P.C., 769 F. Supp. 2d 630, 649-50 (S.D.N.Y. 2011) (concluding that certain documents
warranted seal where they contained “highly proprietary material concerning the
defendants’ marketing strategies, product development, costs and budgeting” as “the
privacy interests of the defendants outweigh the presumption of public access”).


                                         Respectfully submitted,

                                         COZEN O'CONNOR

                                         /s/ Michael B. de Leeuw

                                         BY:    MICHAEL B. DE LEEUW
